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                         No. 22-40516


                       IN THE
           UNITED STATES COURT OF APPEALS
                FOR THE FIFTH CIRCUIT


                 UNITED STATES OF AMERICA,
                       Plaintiff-Appellee,

                                  v.

                      REID ETHERIDGE,
                      Defendant-Appellant.


          Appeal from the United States District Court
              for the Southern District of Texas



            REPLY BRIEF FOR APPELLANT



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                         STATEMENT OF THE ISSUES

      Issue one. Did the district court rely on a mistaken view of sentencing evidence

that played a critical role in its decision to select a life sentence, and does that error

warrant remand for resentencing in view of a correct understanding of the evidence?

      Issue two. Do the district court’s respective $12,000 and $10,000 restitution

awards lack sufficient evidentiary foundation such that they must be vacated?




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                                    ARGUMENT

I.    The district court’s decision to impose a term of life imprisonment,
      as opposed to a lesser term of years, was influenced by a mistaken
      view of key sentencing evidence.

      The facts of Mr. Etheridge’s three offenses are horrific, as the government’s

graphic and drawn out recitation of those facts portrays. See Gov’t Br. 3-11. Indeed,

those gruesome details placed Mr. Etheridge in the rare category of offenders for

whom the Sentencing Guidelines suggest a sentence of life imprisonment. But that is

precisely why Mr. Etheridge’s first claim of error is so serious.

      Keenly aware of the nature of Mr. Etheridge’s conduct, as well as the gravity

of a lifetime prison term, the district court emphasized that the critical factor in its

decision to go with a life sentence, rather than a three-decade-or-more term of years,

was the extent to which Mr. Etheridge presented a risk of abusing other children if

released—the life sentence “is a fair one here,” the court reasoned, “largely because

of [the] concern and fear that Mr. Etheridge is going to reoffend.” ROA.318. As Mr.

Etheridge detailed in his initial brief (at 12-15, 27-28), the court made clear that one

piece of evidence, above all others, influenced its view that Mr. Etheridge posed an

untenable risk of reoffending no matter how far into the future he might be released:

the risk-assessment report prepared by the defense’s expert, Stephen Thorne, Ph.D.

The court repeatedly stressed that it understood Dr. Thorne’s report to “say” that “Mr.

Etheridge has an average chance of reoffending” upon release (ROA.276)—which


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was to say that the court interpreted “the psychologist” as having concluded that “there

is an average chance that” Mr. Etheridge’s “deviant sexual behavior” was “going to

reappear” and that he was “going to harm people in the future.” ROA.290. And the

court repeatedly underscored that it “put a lot of weight in” that conclusion “in decid-

ing” how best to “protect future – potential future victims” from the risk Mr. Etheridge

posed. ROA.288; see ROA.289 (“So again, I just put a lot of weight in what the psy-

chologist says, and I’m just worried about that.”). As noted, the court decided that a

life sentence was the only way to adequately account for the degree of risk it inter-

preted the psychologist as having reported.

      But, as Mr. Etheridge has shown, see Def. Br. 26-31, the district court’s state-

ments reveal that it misinterpreted both the degree and longevity of the risk Dr. Thorne

in fact assessed. The doctor’s report did not “say” that Mr. Etheridge “has an average

chance” to reoffend. It said that Mr. Etheridge fell into the “average” category on a

specific risk-assessment tool (the Static-99R). Def. Br. 7-8 (citing ROA.477-81). And

it advised that the chances of a person in that category reoffending are extremely low

according to the available empirical research, which both predicted that between 1.4%

at the low end, and 6.7% at the high end, of “average” category offenders would re-

cidivate (ROA.479-80), and showed that “the large majority of” average-category of-

fenders “do not have documented arrests/convictions for new sex offenses” after their

release. ROA.481 (Doctor Thorne’s emphasis).


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       Nor did the doctor’s report say, as the district court believed, that Mr. Etheridge

would continue to present the same “chance of reoffending” of those in the “average”

category irrespective of how long he remained imprisoned. To the contrary, the report

placed Mr. Etheridge into the “average” category only “on the assumption that he

could be released into the community prior to his 60th birthday.” ROA.478. For that

assumption to hold, the district court would have to sentence Mr. Etheridge, who was

nearly 43 at the time of sentencing, to 20 years or less. But the lowest Guidelines range

Mr. Etheridge faced, due only to a statutory maximum on two of his three counts, was

30 years, flat. Def. Br. 5 n.2; see 18 U.S.C. § 2251(e). Were he released after turning

60, the report made clear, the “average” categorization would have to be “revised.”

ROA.478. That is, the chances that Mr. Etheridge would recidivate would be lower

still if, as was certain to be the case, he received a term that would keep him impris-

oned into his 70s or beyond.

       Because Dr. Thorne’s “average” classification does not mean what the district

court thought it meant, and because the corresponding recidivism risk would not apply

upon Mr. Etheridge’s release after any non-life term the court realistically would have

imposed, Mr. Etheridge has urged this Court to vacate his sentence and remand for

resentencing. See Def. Br. 26-32, 38. And that remedy is appropriate, he has explained,

even if review is for plain error. See id. at 32-38.




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      The government resists in full. See Gov’t Br. 38-44. It also takes umbrage at

Mr. Etheridge’s submission that there is at least a nonfrivolous possibility that his trial

counsel’s statements brought the gravamen of this error to the district court’s attention.

Id. at 34-38. Mr. Etheridge responds to the government’s contentions below.

      A.     Mr. Etheridge arguably preserved this issue.

      Contrary to the government’s suggestion (Gov’t Br. 34-35), Mr. Etheridge does

not contend that his trial counsel’s request for a lower sentence, alone, sufficed to

preserve his more specific claims on appeal. Rather, he has suggested (Def. Br. 25-26)

that his counsel’s response to the district court’s entreaty to opine on its understanding

of the psychologist’s report, read in conjunction with counsel’s requests for a non-life

sentence, could be viewed as having alerted the court to the gravamen of his appellate

claim. Specifically, trial counsel responded by noting that the risk assessed in the re-

port was “based on an assumption,” and that the report also reflected that the “large

majority of adult sex offenders do not reoffend sexually.” ROA.290. And, for those

and other reasons, counsel went on to contend that a “20- to 30-year sentence would

be sufficient to address protection of the public” and “the victims.” ROA.293. At a

minimum, this rejoinder apprised the court that trial counsel believed the court’s view

of the degree of risk reflected in the report was incomplete.

       Arguably, when viewed in context, counsel’s response also suggested that the

court had overlooked the same “assumption” Mr. Etheridge has shown on appeal that

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the court failed to appreciate—namely, that the “average” risk categorization would

apply to Mr. Etheridge only if he were released prior to age 60. That is Mr. Etheridge’s

submission on preservation. He acknowledges (see Def. Br. 25) that trial counsel nei-

ther described the pertinent “assumption,” nor called attention to the court’s conflation

of Mr. Etheridge’s placement in the “average” recidivism-risk category and an “aver-

age chance” of recidivating. So, it may be that Mr. Etheridge’s submission is not the

strongest; but that submission is not frivolous.

      The government’s suggestion (Gov’t Br. 38) that trial counsel “waived” Mr.

Etheridge’s appellate claim, however, lacks merit. Waiver “is the intentional relin-

quishment or abandonment of a known right.” United States v. Cabello, 33 F.4th 281,

295 (5th Cir. 2022). If trial counsel did indeed fail to adequately “suggest that [the

report] says something otherwise” when the court invited her to do so, ROA.290, then

that failure is a classic “forfeiture”—i.e., a “failure to make the timely assertion of the

right” to have the court base Mr. Etheridge’s sentence on an accurate understanding

of the psychologist’s conclusions. Cabello, 33 F.4th at 295. Counsel’s answer in no

way communicated to the court that Mr. Etheridge understood, but intended to relin-

quish, his right to be sentenced based on a correct view of the most pivotal sentencing

evidence in the case.




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      In all events, preservation is not the main event here. Mr. Etheridge fully briefed

these errors as if they went unpreserved. Def. Br. 32-38. Even under plain-error scru-

tiny, his claim that actionable sentencing error exists here has serious force.

      B.     This claim of error is based on the district court’s statements
             at sentencing, not speculation, and those statements reflect
             a mistaken view of the defense expert’s risk evaluation.

      The government contends (Gov’t Br. 38-39) that Mr. Etheridge rests this claim

of error on “zero evidence,” charging him with relying on “unsupported speculation.”

That dodge is not persuasive. Mr. Etheridge’s claim rests not on speculation but on

hard evidence—in the form of the district court’s own statements at the hearing. This

Court has recognized that “the district court’s words are the best evidence of why it

did what it did” in imposing a federal sentence. United States v. Culbertson, 712 F.3d

235, 243 (5th Cir. 2013). A “plain reading of the transcript” may sometimes reveal

that the defendant’s claim does not match “what the district court said it was doing.”

United States v. Sanchez, 900 F.3d 678, 684 (5th Cir. 2018). But “the transcript” can

just as readily establish that the district court sentenced “based on” an improper con-

sideration and “clearly indicate[] that the court’s error affected [the defendant]’s sub-

stantial rights.” United States v. Broussard, 669 F.3d 537, 555 (5th Cir. 2012); see,

e.g., Culbertson, 712 F.3d at 241-44 (finding district court’s statements dispositive

evidence of plain, reversible error).



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      As Mr. Etheridge has shown, see Def. Br. 27-31, the district court’s words re-

veal that it misinterpreted the defense expert’s report in a way that materially over-

states Mr. Etheridge’s assessed potential to reoffend, if ever released, in two independ-

ent ways. The government tellingly offers no alternative interpretation of what the

district court’s statements could have meant. Nor could it.

      At the beginning of the hearing, the court professed its belief that Dr. Thorne’s

“report wasn’t exactly favorable,” and that his “conclusion was disturbing” because

“he said Mr. Etheridge has an average chance of reoffending.” ROA.276. The court

then reiterated that belief twice, both in explicating its view of the primary “concern”

bearing on the appropriateness of a life sentence, see ROA.289, and as a direct re-

sponse to trial counsel’s mitigating argument on that subject. See ROA.290. And con-

text makes clear that, by “average chance,” the court envisioned a much greater like-

lihood of recidivism than the at-most 6.7% chance the report reflects. The court stated

that “[a]n average chance seem[ed] to [it] more than a slight chance,” and labeled the

difference between slight and average “significant” in “that it wasn’t like” the appar-

ently lower risk reflected in the “[co-defendant]’s report,” which was “very different.”

ROA.276. The court later contrasted Dr. Thorne’s notation that he could not “guaran-

tee” Mr. Etheridge was “not going to do this again,” by paraphrasing the doctor as

“say[ing],” “‘In fact, I’d say [Mr. Etheridge] has an average chance of reoffending.’”

ROA.289. And, after noting that it interpreted the report as focusing in “large part” on

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whether Mr. Etheridge “was somebody that is going to harm people in the future,” the

court paraphrased the doctor as “say[ing],” there “‘is an average chance that that will

happen.’” ROA.290. The import of these statements, in view of the context in which

they were made, is that the court understood the doctor as opining that the “chances”

of Mr. Etheridge reoffending were much more likely than the single-digit probability

the report in fact reflects.

       The government’s only substantive response (Gov’t Br. 39) is to take Mr. Ether-

idge to task for offering a colloquial analogy to the degree of risk implied by “average

chance” in the way the court used that phrase: “50/50.” See Def. Br. 29. Perhaps 50/50

is not precisely what the court meant. What matters is that, in common parlance, an

“average chance” that something will happen is one that is relatively likely or not out

of the ordinary. Neither of those things is true about the probability Dr. Thorne re-

ported, which reflected a 93- to 98-percent chance that a person in Mr. Etheridge’s

“average” category would not reoffend. If someone were to say, “there’s an average

chance that it’s going to rain tomorrow,” no ordinary speaker of the English language

would walk away thinking the prospect of rain the next day was in the single digits.

       The government offers no response, moreover, to Mr. Etheridge’s argument as

to the district court’s separate, more-important misimpression of the report. Even if

the court was using “average chance” to refer to the one- to seven-percent chance Dr.

Thorne reported, the court still mistakenly believed the report to suggest Mr. Etheridge

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would present that “average chance” in perpetuity. See Def. Br. 29-31. Setting aside

the court’s view of the degree of risk reflected in the report, there is no disputing that

the court viewed that risk as untenable and dispositive of its ultimate conclusion to

embrace the life term recommended by the Guidelines. The court made clear that the

“facts in this case are just so horrible” that its overriding “concern” was the need for

a sentence that would “protect[] other children” from potential future harm. ROA.289.

The court made clear that the “average chance of reoffending” it understood the report

to assign to Mr. Etheridge was the key evidence influencing its view on that subject.

ROA.290; see ROA.287-89 (detailing this). The court made clear that it viewed “in-

capacitation” as “the point” of, and “only reason for,” a “life sentence.” ROA.291.

And, in pronouncing sentence, the court made clear that it felt “the [life] sentence is a

fair one here largely because of [its] concern and fear that Mr. Etheridge is going to

reoffend.” ROA.318.

      All of this puts beyond dispute that, at a minimum, the district court understood

the doctor’s report as concluding that Mr. Etheridge would present the degree of risk

associated with an “average” classification at release. But the report made clear that

Mr. Etheridge would not present the same degree of risk if released beyond age 60.

And no one at Mr. Etheridge’s sentencing hearing—himself included—was operating

under the illusion that any non-life term the court would realistically entertain could

see Mr. Etheridge released before his “60th birthday.” ROA.478. Whether or not the

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court appreciated the difference between the “average” categorization and the proba-

bility that a member of that category would reoffend, the court clearly did not appre-

ciate that Dr. Thorne’s assessment was premised on an assumption that was practically

impossible to hold true at the time Mr. Etheridge would be released.

      That misimpression alone suffices to establish that the court operated under an

“erroneous and material” misunderstanding of key sentencing evidence. United States

v. Tobias, 662 F.2d 381, 388 (5th Cir. Unit B Nov. 1981). And that “[d]eviation from

a legal rule” is “‘clear’ or, equivalently, ‘obvious,’” United States v. Olano, 507 U.S.

725, 732-33, 734 (1993), in light of the ample authority recognizing that a court’s

reliance on erroneous information in balancing the 18 U.S.C. § 3553(a) factors renders

the resulting sentence both procedurally and substantively unreasonable. See Def. Br.

33-34 (collecting cases).

      C.     The substantial “weight” the district court placed on the
             expert’s conclusions makes this error actionable even on
             plain-error review.

      The government’s contention (Gov’t Br. 40-44) that this error is a poor candi-

date for correction under plain error’s prejudice and discretion prongs is unpersuasive.

The government first attempts (Gov’t Br. 40-41) to divert the discussion to a single

paragraph in Dr. Thorne’s report in which the doctor lists several of the aggravating

traits that factored into Mr. Etheridge’s overall risk assessment. The government ne-

glects to mention, however, that the doctor spends the next two paragraphs describing

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all the “relevant mitigating factors.” See ROA.480-81. Mr. Etheridge will not cata-

logue those factors here. The point is that the doctor did not, as the government sug-

gests, highlight a bunch of factors that independently “heightened [his] concern for

recidivism” such that the district court may have “credit[ed]” that “portion[] of the

report” while ignoring the rest. Gov’t Br. 41. What the doctor in fact did was conclude

that Mr. Etheridge belonged in the “moderate” risk category on the “RSVP” assess-

ment tool, and in the “average” risk category on the Static-99R tool, based on the

balance of all the aggravating and mitigating factors, and on the assumption that Mr.

Etheridge would be released in “the near future.” ROA.481. Indeed, the doctor em-

phasized that “the reader should note” that Mr. Etheridge’s “overall profile” was “con-

sistent with what is often seen in offenders who are considered to be a ‘low risk’ for

future sexual recidivism,” but that Mr. Etheridge’s several aggravating traits neverthe-

less prompted the doctor to err on the side of the moderate and average designations.

ROA.481-82.

      The government’s remaining arguments also lack merit. The government high-

lights (Gov’t Br. 42) the fact that the district court complied with its statutory obliga-

tion to consider other relevant Section 3553(a) factors, some of which were “distinct

from Dr. Thorne’s report” and could have weighed in favor of “life imprisonment.”

But this Court has routinely rejected the government’s suggestions that dutiful con-

sideration of other legitimate sentencing factors may serve to cancel out the influence

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of an erroneous or mistaken view of one or more factors. E.g., United States v. Wooley,

740 F.3d 359, 369 (5th Cir. 2014); Culbertson, 712 F.3d at 242; Broussard, 669 F.3d

at 555.

      In Broussard, for example, this Court “d[id] not dispute that the district court

considered other permissible factors in explaining its chosen sentence.” 669 F.3d at

555. Yet the Court nevertheless concluded that the district court’s “reliance on” an

erroneous factor had “skewed the sentencing determination” and therefore “affected

[the defendant]’s substantial rights” for purposes of plain error’s third prong. Ibid.

Here, as in Broussard and other cases finding reversible plain error where an errone-

ous view or factor influenced the sentence, the need to protect potential future victims

“was ‘such a central part of the district court’s explanation of [Mr. Etheridge’s] sen-

tence that “[the Court] cannot confidently say that the district court would have im-

posed the same sentence” without it.’” Culbertson, 712 F.3d at 244 (quoting United

States v. Escalante-Reyes, 689 F.3d 415, 425 (5th Cir. 2012) (en banc), in turn quoting

United States v. Garcia-Quintanilla, 574 F.3d 295, 304 (5th Cir. 2009)).

      The government also errs in suggesting (Gov’t Br. 43) that the fact that other

defendants have received life sentences for similar conduct in the past in some way

ameliorates the force and effect of the due-process violation inherent in premising Mr.

Etheridge’s life sentence on a mistaken view of the evidence as to his likelihood of

recidivating. At least three of this Court’s fellow courts of appeals have readily found

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a court’s reliance on an erroneous view of sentencing evidence to warrant an exercise

of plain-error discretion. See Def. Br. 37-38 (citing United States v. Gonzalez-Castillo,

562 F.3d 80, 83 (1st Cir. 2009); United States v. Wilson, 614 F.3d 219, 225 (6th Cir.

2010); United States v. Corona-Gonzalez, 628 F.3d 336, 342-43 (7th Cir. 2010)). And

those decisions reached that conclusion even before the Supreme Court clarified that

sentencing errors that raise a reasonable probability of a lesser prison term are of a

kind that ordinarily will warrant plain-error correction. See Rosales-Mireles v. United

States, 138 S. Ct. 1897, 1907-08 (2018). The stakes in Mr. Etheridge’s case—life;

versus any lesser term—only amplify the extent to which correction is necessary to

preserve the fairness, integrity, and public reputation of proceedings.

      The district court took Mr. Etheridge’s sentencing proceeding very seriously.

But the court also labored under a misimpression that caused it to view the critical

evidence as aggravating its concerns for public protection and deterrence when that

evidence, properly construed, carried serious potential to mitigate those concerns. If

there is plain error here, and Mr. Etheridge contends that there is, then due process—

fundamental fairness—dictates that the case should go back so that the district court

can perform the same careful analysis of this difficult case with a correct understand-

ing of the evidence it valued most.




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II.   Both restitution awards lack adequate evidentiary foundation, and
      no special circumstances excuse the government’s failure to gather
      and produce any evidence of recoverable loss.

      The government also resists (Gov’t Br. 44-60) Mr. Etheridge’s claim that the

district court’s restitution judgment rests on insufficient evidence. Here, too, its argu-

ments are unpersuasive.

      A. The district court’s restitution awards rest on no evidence and
         are thus plainly unlawful.

      The government rightly notes (Gov’t Br. 49) that Congress placed the burden

squarely with it to “provide the [district] court with enough evidence to allow the court

to estimate” the full amount of a victim’s recoverable losses caused by the offense of

conviction. It also correctly notes that district courts “may rely on the Government’s

reasonable approximation of loss and may accept estimates of loss when precision is

not possible.” Gov’t Br. 49 (citing United States v. Futrell, 209 F.3d 1286, 1292 (11th

Cir. 2000)). There is one glaring problem, however, with these recitations: in this case,

the government proffered no evidence of loss as a template for estimation; and the

record provides no foundation for the suggestion that “precision” on that score would

have been difficult, much less impractical or impossible.

      To start, the government omits the many statutory requirements that it plainly

violated by failing to gather and produce any loss evidence before sentencing in this

case. So Mr. Etheridge will fill that gap here. The presentence report contained no


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accounting or estimation of offense-related expenses that K.C., E.E., or the minors’

respective families had incurred or expected to incur in the future. Contra 18 U.S.C.

§ 3664(a). Indeed, the report advised that no evidence of loss had been collected.

ROA.360, 369. Nothing in the record indicates that the probation officer encountered

circumstances that would make such an accounting “clearly impracticable,” or that

the probation officer so informed the district court. Contra 18 U.S.C. § 3664(a).

          There is likewise no indication in the record that, at some point after the report

was filed, the government otherwise complied with its obligation to provide the pro-

bation officer with a listing of any amounts subject to restitution at least 60 days prior

to sentencing. Contra id. § 3664(d)(1). Nor is there any indication that the prosecutor

or probation officer ever concluded that any past or anticipated losses would not be

ascertainable by ten days prior to sentencing, and so informed the court.1 Contra id. §

3664(d)(5). Indeed, going into sentencing, the only restitution-related “evidence” that

had been provided to Mr. Etheridge—or the court—was that E.E.’s mother had de-

clared, in a sworn affidavit attached to a later-filed addendum to the presentence re-

port, that she incurred “no” counseling expenses, a “minimal” amount of undescribed

medical expenses, and an unreported amount of undescribed lost income. ROA.379-

82.


      1
        Sentencing occurred in July of 2022—more than a year after the final presentence report was
filed in June of 2021; and three months shy of two years from the time the offenses came to light in
October of 2020. ROA.271, 351.

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         In short, every indication in the record is that the government simply had no

evidence of loss to produce. The most logical way to make sense of that void is that

the government reached out to the victims and learned that there was no concrete ev-

idence to be had, perhaps because the State had provided free counseling, as Ms. Tre-

vino’s affidavit advises was the case for E.E., or because the victim did not respond,

as with the fact that K.C.’s father chose not to return a loss affidavit as requested.2

         For the first time on appeal, the government now suggests that its failure to

gather and produce competent loss evidence, which prompted the district court to step

in and “speculat[e]” to fill the void (ROA.303), could be explained by a lack of “re-

sources,” Gov’t Br. 51, or practical difficulties in finding and tabulating that evidence.

Id. at 49 (citing Futrell, 209 F.3d at 1292). But the government waived any such claim

by failing to bring any difficulties or impracticalities to the district court’s attention—

not only prior to sentencing, as required by statute, see 18 U.S.C. § 3664(a), (d)(5),

but even at sentencing. And everything we know from the record demonstrates that

the kind of losses at issue here, if they existed, were eminently provable.

         Medical expenses are easy to calculate; they produce doctor bills. The govern-

ment offered no evidence and elicited no testimony about past medical expenses, or


     2
       Some context is relevant here: K.C.’s father, Mr. Cronkhite, is the spouse of the co-defendant,
Ms. Cronkhite—who was present for, participated in, and in some instances carried out the abuse
that K.C. suffered. See Def. Br. 3. Thus, any restitution flowing from that abuse was chargeable to
both K.C.’s mother and Mr. Etheridge, to the extent that their respective acts of abuse proximately
caused any recoverable losses. Paroline v. United States, 572 U.S. 434, 448 (2014).

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from which to estimate future expenses. Mr. Cronkhite, K.C.’s father, and the co-de-

fendant’s spouse, cited none in his victim allocution. ROA.296-306. And Ms. Trevino,

E.E.’s mother, cited none in her affidavit and confirmed as much in her allocution.

ROA.307-12, 379-82.

      The number and cost of counseling sessions is just as easy to identify and cal-

culate. As to K.C., the government offered no evidence and elicited no testimony on

either of those easily deducible amounts. In his allocution, Mr. Cronkhite could only

guess—reluctantly, and after admitting he “honestly [was] not sure”—as to the

amount he had paid for K.C.’s then-discontinued counseling. ROA.304-05. As to E.E.,

Ms. Trevino made clear in both her affidavit and in her allocution that E.E.’s then-

discontinued counseling had been paid for by the State—i.e., that she did not have any

counseling-related actual loss. ROA.309, 311, 380.

      The government likewise offered no evidence, and elicited no testimony, from

which to reasonably estimate future therapy costs as to either victim. Like past therapy

expenses, the likely cost of future therapy is not difficult to support with evidence that

would allow for reasonable estimation. Indeed, the case the government cites as an

example on this point, United States v. Danser, 270 F.3d 451 (7th Cir. 2001), illustrates

the qualitative difference between a total failure to offer any evidentiary template for

estimation, as is the case here, and the government’s understandable failure to proffer

perfect evidence of all future therapy needs, as occurred in Danser. As the government

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notes, in Danser, at sentencing, “the [victim] child’s therapist testified that she would

require long-term mental health care, possibly for the rest of her life.” Gov’t Br. 54

(citing Danser, 270 F.3d at 452). And “the prosecution provided a[n] [estimated] res-

titution amount” for therapy, the bulk of which “comprised future therapy costs.”

Gov’t Br. 54 (citing Danser, 270 F.3d at 452).

         The dispositive difference between that case and this one is apparent. No one,

much less a therapist, testified at Mr. Etheridge’s sentencing hearing. The prosecution

proffered no approximation of restitution at any point in the proceedings. And neither

parent laid a reliable evidentiary foundation from which to make a reasonable estimate

of future therapy expenses in their unsworn allocution statements.3

         The government simply asserts (Gov’t Br. 54) that the district court “reasonably

estimated future therapy expenses” for K.C. despite the fact that it offered (and now

points to) no concrete evidence to support Mr. Cronkhite’s on-the-spot estimation that

he had paid approximately $2,000 for the discontinued therapy and could anticipate

similar expenses for the next several years. See ROA.305-06. Indeed, Mr. Cronkhite

also stated that he “honestly [was] not sure” about “the cost” of K.C.’s prior therapy


     3
        The government repeatedly characterizes (Gov’t Br. 31-32, 52, 55-56) the parents’ allocution
statements as “testimony.” That is factually inaccurate. The district court made clear that the parents’
statements represented “victim allocution,” that the parents were “not under oath,” and that “nobody
g[ot] to ask [them] questions, although, [it] may have some.” ROA.296. The court also noted that,
“[i]f there is some kind of testimony [the parents] want[ed] to provide, then, [it] c[ould] swear [them]
in.” ROA.296. Neither parent was sworn in at any point. And the government expressly declined to
ask any questions of each parent. ROA.306, 312.

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sessions, ROA.304, that he “prefer[red] not to” guess on that subject, ROA.304, and

that he had “watched very carefully for [‘emotional damage’]” but ha[d]n’t seen any-

thing” as yet. ROA.302. And, in responding to the court’s question whether he “ha[d]

discussed” with K.C.’s “current psychologist” the possibility that she might need ad-

ditional future therapy, Mr. Cronkhite made clear that he “ha[d] not, no.” ROA.303.

Those equivocal unsworn statements did not provide a suitably reliable evidentiary

foundation from which to extrapolate a reasonable estimate of the need for and cost

of future therapy for K.C.

      The government’s assertion (Gov’t Br. 57) that it was “reasonable” for the court

to estimate the same amount of future expenses for E.E. in the absence of any prior

accounting or evidentiary foundation is similarly misplaced. Ms. Trevino answered,

“None for now” in the field for “future counseling sessions anticipated” in her sworn

affidavit. ROA.380. At the hearing, Ms. Trevino confirmed that E.E.’s then-discontin-

ued therapy “was all free”—she “didn’t pay for anything.” ROA.309. And, as to future

expenses, she said only, “but my fear is that there may be expenses in the future, and

I’m hoping that’s not the case but I just don’t know.” ROA.309-10.

      The government cannot now, on appeal, claim that practical considerations pre-

vented it from performing its statutory duty to marshal and produce evidence of resti-

tution, especially when the prosecutor expressly declined the court’s invitation to ask

questions of each parent following their respective allocutions. See ROA.306, 312.

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“[E]very dollar” comprising a restitution award “must be supported by record evi-

dence”—even if that evidence no more than affords the district court a jumping-off

point to reasonably estimate past or future expenses. United States v. Sharma, 703

F.3d 318, 322 (5th Cir. 2012). That did not happen here. The district court plainly erred

in awarding $12,000 in restitution to K.C. and $10,000 to E.E. in the absence of any

competent evidence of actual or anticipated losses.

      B.   The government’s request for a do-over is foreclosed.

      The government contends that its failure to gather and produce evidence of loss

sustained by these two victims is excusable by special circumstances, Gov’t Br. 49-

51, and it accordingly asks this Court to order open remand to allow the government

to “supplement[]” the record with proof. Id. at 59-60. As Mr. Etheridge has explained,

Fifth Circuit precedent forecloses that request. See Def. Br. 39-40, 48-49 (citing, e.g.,

United States v. Chem. & Metal Indus., Inc., 677 F.3d 750 (5th Cir. 2012)).

      The government’s contrary argument is premised on United States v. Villalobos,

879 F.3d 169 (5th Cir. 2018). See Gov’t Br. 49-51. Villalobos “vacate[d]” a restitution

award where, as here, the government made no attempt to proffer evidence of restitu-

tion and the district court speculated as to the existence of potential losses. See 879

F.3d at 171-72. According to the government, the Villalobos panel “sided with the

United States and agreed that upon remand, the victims could provide supplementa-

tion to support” any losses. Gov’t Br. 50. This was so, says the government, because

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the Villalobos panel agreed that it had shown the “special circumstances” needed to

overcome the general rule that evidentiary failures in the restitution context are final.

Gov’t Br. 50-51. By the government’s telling, Villalobos “held that ‘special circum-

stances’ existed” to trigger the exception, Gov’t Br. 51 (citing Villalobos, 879 F.3d at

172); and, on remand, it accordingly got to present evidence of loss for the first time.

Ibid.; see id. at 60 (citing Villalobos as support for requesting that remedy).

      Neither the government’s description of Villalobos’s holding, nor of the result

on remand, is accurate. In fact, this Court declined to resolve the question of special

circumstances, directing the “district court to ask and decide whether special circum-

stances excuse[d] the government’s failure to present evidence the first time around.”

Villalobos, 879 F.3d at 172. The Court did so because of a peculiar fact: the victim’s

mother had—unlike the parents here—been “unable to speak” at sentencing because

she was overcome by emotion. Id. at 171. Still, the Court found the “mother’s inability

to speak” to present a unique situation that made it “prudent” to enlist the district court

to assess whether special circumstances excused the government’s failure in the first

instance. Id. at 172. And, contrary to the government’s suggestion, the district court,

on remand, rejected the government’s argument that special circumstances existed so

as to excuse its prior failure to provide evidence of loss: “After remand to this court

to consider reopening the issue of restitution for the victim, the court at a hearing heard

from the attorneys for the parties and reviewed the sentencing record. The court rules

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that the Government should not be allowed to reopen.” Order Responding to Remand,

United States v. Villalobos, No. 2:16-cr-710 (S.D. Tex. May 23, 2018) (Head, J.).

       Here, just as there, the government has offered no plausible basis to conclude

that it was prevented—even by its own negligence, cf. United States v. Jimenez, 692

F. App’x 192, 203 (5th Cir. 2017)—from discharging its duty to marshal competent

evidence of past or anticipated future losses on behalf of these victims. And since this

case does not involve the unique situation that made it prudent to leave that question

to the district court in Villalobos, the ordinary prohibition on do-overs applies. The

appropriate remedy is to vacate the unsupported restitution awards and enter judgment

of no restitution.




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                                  CONCLUSION

      The Court should vacate Mr. Etheridge’s prison sentence and remand for resen-

tencing. The Court should also vacate the district court’s restitution awards and either

render judgment of no restitution or remand with instructions to confine any further

proceedings on that subject to the present state of the record.

                                            Respectfully submitted,
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                         CERTIFICATE OF SERVICE

      I certify that this reply brief was served upon counsel for appellee by notice of

electronic filing with the Fifth Circuit CM/ECF system.

                                           s/ Evan G. Howze
                                           EVAN G. HOWZE




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                      CERTIFICATE OF COMPLIANCE

1.   This reply brief complies with the type-volume limitation of Fed. R. App. P.
     32(a)(7)(B) because it contains 5,660 words, excluding the parts exempted
     by Fed. R. App. P. 32(f).

2.   This reply brief complies with the typeface and type style requirements of
     Fed. R. App. P. 32(a)(5)-(6), as it has been prepared with the current version
     of Microsoft Word software, Microsoft Office 365 edition, using the propor-
     tionally spaced, Times New Roman typeface in the text (14-point) and foot-
     notes (12-point).

3.   This reply brief was filed electronically, in native Portable Document File
     (PDF) format, via the Fifth Circuit’s CM/ECF system.

4.   This reply brief complies with the privacy-redaction requirement of 5th Cir.
     R. 25.2.13 because it has been redacted of any personal data identifiers.

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